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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

MUTUAL OF OMAHA                               )
MORTGAGE, INC.,                               ) Civil Action No.
                                              )
                          Plaintiff,          )
                                              ) COMPLAINT
        v.                                    )
                                              ) DEMAND FOR A JURY TRIAL
WATERSTONE MORTGAGE                           )
CORPORATION,                                  )
                                              )
                          Defendant.          )

        Plaintiff Mutual of Omaha Mortgage, Inc. (“Plaintiff” or “Mutual Mortgage”),

by and through its undersigned counsel, hereby brings this complaint against

defendant WaterStone Mortgage Corporation (“Defendant” or “WaterStone”) and

alleges, upon information and belief, as follows:

                                 PRELIMINARY STATEMENT

        1.          Mutual Mortgage brings this action against WaterStone in response to a

brazen and unlawful scheme by WaterStone to solicit and hire over sixty Mutual

Mortgage employees (the “Departed Employees”), causing Mutual Mortgage to have

to shutter three entire branches after the Departed Employees resigned en masse – many

within minutes of one another – in what was clearly a coordinated plan.

        2.          Not content to merely poach employees from Mutual Mortgage,

WaterStone also encouraged and assisted the Departed Employees to solicit other

employees to leave Mutual Mortgage for WaterStone, encouraged and assisted the

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Departed Employees to provide confidential and trade secret information belonging

to Mutual Mortgage (“Confidential and Trade Secret Information”) to WaterStone,

and encouraged and assisted the Departed Employees to breach their fiduciary duties

to Mutual Mortgage by diverting customers to WaterStone while the Departed

Employees were still licensed with and working for Mutual Mortgage.

        3.          To give but one example, on March 3, 2022, one of the Departed

Employees, Dwyane Hutto, used his Mutual Mortgage email to send Confidential and

Trade Secret Information to Dustin Owen, WaterStone’s Regional Vice President-

Southeast. Specifically, the email attached a spreadsheet with a dozen tabs, each

containing Confidential and Trade Secret Information, such as Mutual Mortgage’s

historical and current profit and loss statements, loan rates, fee structures, profit

margins, employee compensation data, and other detailed information.                 After

receiving the email, WaterStone responded as follows: “Received. Thank you. I have

sent this off to Kevin Allen. Let’s look at some times/dates for next week. We’ll want

and [sic] hour with you and then an hour with Smitty.” According to WaterStone’s

website, Kevin Allen is WaterStone’s Senior Vice President of Sales, 1 and, upon

information and belief, “Smitty” refers to Chris Smith, another of the Departed

Employees.




        1
         See WaterStone, Leadership Team, available at
https://www.waterstonemortgage.com/about/leadership (last visited July 21, 2022).

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        4.          Mutual Mortgage brings this action to hold WaterStone accountable for

its willful and egregious misconduct.

                                           PARTIES

        5.          Mutual Mortgage is a Delaware corporation with its principal place of

business at 3131 Camino Del Rio North, Suite 1100, San Diego, California, 92108.

Mutual Mortgage is a residential mortgage lender with a number of branch offices in

Florida, including now-shuttered locations at 4902 Eisenhower Boulevard, Suite 385,

Tampa, Florida, 33634 (the “Tampa Branch”), 900 West Granada, Suite 4, Ormond

Beach, Florida, 32174 (the “Daytona Branch”). As relevant for the instant case,

Mutual Mortgage also had a branch office in Paramus, New Jersey (the “Paramus

Branch”).

        6.          WaterStone is a licensed residential mortgage banker (NMLS number

186434) with its principal place of business at N25W23255 Paul Road, Pewaukee,

Wisconsin, 53072. Among other things, WaterStone is a residential mortgage lender.

WaterStone has multiple offices in Florida, including at 2699 Lee Road, Suite 600,

Winter Park, Florida, 32789.

                                JURISDICTION AND VENUE

        7.          The Court has subject matter jurisdiction under 28 U.S.C. § 1332(a)(1)

because Mutual Mortgage and WaterStone are citizens of different states, and the

amount in controversy exceeds $75,000, exclusive of interest and costs.



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        8.          The Court has subject matter jurisdiction over Mutual Mortgage’s federal

claims under 28 U.S.C. § 1331 because those claims arise under federal law.

        9.          The Court has subject matter jurisdiction over Mutual Mortgage’s state

law claims under 28 U.S.C. § 1367(a) because the state law claims are so closely related

to the federal claims, and share a common nucleus of operative facts with the federal

claims, such that the state law claims and the federal claims form part of the same case

or controversy.

        10.         The Court has personal jurisdiction over WaterStone because the

unlawful conduct at issue in this case took place in Florida.

        11.         Venue is appropriate in this District under 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to Mutual Mortgage’s

claims occurred, and a substantial part of the property that is the subject of this action

is located, in the Middle District of Florida, Tampa Division.

                                 FACTUAL BACKGROUND

        12.         As a threshold matter, it is important to emphasize that Mutual Mortgage

has only begun its investigation into the damage done by WaterStone, and its

investigation is ongoing. Moreover, Mutual Mortgage’s investigation has been made

difficult by the fact that at least some of the Departed Employees appear to have taken

steps to avoid leaving a record of their misconduct. For example, on April 5, 2022

Zeke Waterman – then at Mutual Mortgage – emailed his assistant with instructions

that she blind carbon copy him on emails to borrowers because Waterman was “just
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trying to keep myself out of emails.” His assistant responded: “I understand and

rightfully so.” A few weeks later Waterman and his assistant left Mutual Mortgage

for WaterStone.

        13.         Similarly, in an April 7, 2022 email from Maria De Sevilla to Dawson

Walker regarding their impending move to Waterstone, De Sevilla wrote that “I figure

you’re probably good at ‘code.’” At the time both De Sevilla and Walker were

employed in Mutual Mortgage’s Daytona Branch, and one week later they resigned to

join WaterStone.

        14.         In addition, the Departed Employees used their personal email accounts

to engage in their unlawful scheme, and Mutual Mortgage does not currently have

access to the Departed Employees’ personal email accounts. Mutual Mortgage intends

to conduct extensive discovery of these personal email accounts on an expedited basis,

including forensic auditing if Mutual Mortgage uncovers evidence that the Departed

Employees attempted to destroy evidence in their personal email accounts.

        15.         As Mutual Mortgage’s investigation progresses, Mutual Mortgage

expects to amend this complaint to add evidence of additional misconduct and

additional claims.

        16.         Even based on Mutual Mortgage’s investigation to date, however, there

is substantial evidence, described in detail below, to support the claims and relief

Mutual Mortgage seeks through this action.



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Provisions of the Employment Agreements that WaterStone Encouraged and
Assisted the Departed Employees to Breach
        17.         The Departed Employees were each employed by Mutual Mortgage

under a written employment agreement (the “Employment Agreements”).

        18.         The Employment Agreements were voluntarily entered into by the

Departed Employees and were valid and enforceable contracts.

        19.         The Employment Agreements make clear that the Departed Employees

owed fiduciary duties to borrowers, and were expressly prohibited from placing their

own interests ahead of a borrower’s:

            Loan Originator acknowledges that Company and Loan Originator owe
            fiduciary duties to Company’s borrowers. Any violation of a fiduciary
            duty can subject Company and/or Loan Originator to license discipline
            up to and including license revocation. Loan Originator shall not make
            any representation, or perform any act, during the term of your
            employment with Company which would constitute a breach of a
            fiduciary duty owed to a borrower including, without limitation, placing
            his/her economic interest ahead of the economic interest of a borrower.
Employment Agreement § 7.3.

        20.         The Employment Agreements require the Departed Employees to

comply with all policies and procedures of Mutual Mortgage:

            Loan Originator agrees to comply with all applicable Company policies,
            procedures, and requirements imposed as set forth in this Agreement and
            those policies applicable to Loan Originator and required under
            applicable law, including those related to the origination and processing
            of loans, payment of commissions, licensing, reporting loan activity, each
            applicable policy contained in the Company’s Employee Handbook, and
            each other applicable policy governing your employment now in force or
            which the Company may adopt in the future or as amended from time-
            to-time.
Employment Agreement § 8.


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        21.         The Employment Agreement further provides that the Departed

Employees “agree to abide by all applicable duties and requirements of the Company

regarding confidentiality, non-disclosure, and additional restrictive covenants, to the

fullest extent allowed by applicable law.” Employment Agreement § 15.2.

        22.         The Employment Agreements establish the duty of loyalty the Departed

Employees owed to Mutual Mortgage:

            As a Loan Originator for the Company, Loan Originator acknowledges
            that he/she has a general duty of loyalty to the Company and agrees to
            devote his/his entire productive time, ability, and attention to the
            business of the Company consistent with good industry practices, the
            terms of this Agreement, and with the long-term best interests Company
            and the applicable policies and procedures set by the Company. Loan
            Originator will not render any loan origination services to any other
            person or entity, regardless of whether or not those loan origination
            services would present a conflict of interest for Loan Originator in the
            performance of his/her duties for Company. In addition, Loan
            Originator agrees not to work in any other “real estate related areas” as
            defined by the U.S. Department of Housing and Urban Development.
Employment Agreement § 9.1.

        23.         The Employment Agreements prohibit employees from misusing

personal information of borrowers:

            Because of Loan Originator’s employment with the Company, Loan
            Originator will have access to the nonpublic personal information of
            consumers (“Personal Information”). “Personal Information” means
            personally identifiable financial information, or any list, description, or
            other grouping of consumers (and publicly available information
            pertaining to them) derived using any personally identifiable information
            not publicly available. Loan Originator agrees to comply with the
            Company’s policies regarding Personal Information and any applicable
            consumer privacy laws or rules (the “Privacy Requirements”). Loan
            Originator will limit the use of Personal Information to the express
            purposes set forth in this Agreement, will not disclose Personal
            Information to any unauthorized person, and will strictly abide by the
            Privacy Requirements.
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Employment Agreement § 15.1.

        24.         The Employment Agreements prohibit the Departed Employees from

misappropriating, misusing, or disclosing confidential and trade secret information

belonging to Mutual Mortgage:

            Accordingly, Employee agrees that Employee will not, and will not
            permit any other person or entity to, directly or Indirectly, without the
            prior written consent of the Company: (a) use Confidential Information
            or Trade Secrets for the benefit of any person or entity other than the
            Company; (b) remove, copy, duplicate or otherwise reproduce any
            document or tangible item embodying or pertaining to any of the
            Confidential Information or Trade Secrets, except as required to perform
            responsibilities for Company; and (c) while employed and thereafter,
            publish, release, disclose, deliver or otherwise make available to any third
            party any Confidential Information or Trade Secrets by any
            communication, including oral, documentary, electronic or magnetic
            information transmittal device or media.
Employment Agreement, Protective Agreement (Non-Solicit) § 4.1.

        25.         The Employment Agreements define “Confidential Information” as

follows:

            “Confidential Information” means information that is created and used
            in the Company’s business and which is not generally known by the
            public, including but not limited to: confidential information related to
            (a) the internal business and structure of the Company, concepts,
            techniques, pricing or cost strategies and information, business plans and
            strategies, marketing (and advertising) plans and strategies, advertising
            budgets, unpublished financial information, terms of the Company’s
            agreements or contracts (oral or written, including investors of the
            Company, third-party underwriters, third-party originators, etc.), supplier
            information, proprietary or customized software and databases; (b) the
            Company’s records pertaining to customers (including key customer
            contact information), potential customers (including key contact
            information of anyone who applies for a mortgage with the Company or
            contacts the Company for mortgage needs), mortgage loan terms and
            related information; (c) the Company’s records pertaining to Referral
            Sources (including key contact information), potential Referral Sources
            (including key contact information, amount / nature of business, etc.);

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            and (d) personnel lists, confidential employee information and data
            (including information pertaining to compensation or work
            specialization), training, policies and procedures. Employee specifically
            understands and agrees that information pertaining to borrowers or
            potential borrowers of the Company that Employee obtains as an
            employee of the Company is and shall remain the Confidential
            Information of the Company and shall not be used by Employee at any
            time, including after the Last Day (defined below), for any purpose
            unrelated to Employee’s work for the Company. Employee specifically
            understands and agrees that the term Confidential Information also
            includes all confidential information of a third party that may be
            communicated to, acquired by, learned of, or developed by Employee in
            the course of or as a result of Employee’s employment with the Company.
            Confidential Information does not include information that is or may
            become known to Employee or to the public from sources outside the
            Company and through means other than a breach of this Agreement or
            disclosed by Employee after written approval from the Company.
Employment Agreement, Protective Agreement (Non-Solicit) § 2.1.

        26.         The Employment Agreements prohibit the Departed Employees from

soliciting or inducing other employees to leave Mutual Mortgage:

            During the Restricted Period, Employee shall not directly or Indirectly:
            (a) solicit, recruit, encourage (or attempt to solicit, recruit or encourage),
            or assist others in soliciting, recruiting or encouraging, any Company
            Employees or Former Employees with whom Employee worked, had
            business contact, or about whom Employee gained non-public or
            Confidential Information; (b) contact or communicate with Employees
            or Former Employees for the purpose of inducing, assisting, encouraging
            and/or facilitating them to terminate their employment with the
            Company or find employment or work with another person or entity; (c)
            provide or pass along to any person or entity the name, contact and/or
            background information about any Employees or Former Employees or
            provide references or any other information about them; (d) provide or
            pass along to Employees or Former Employees any information
            regarding potential jobs or entities or persons for which to work,
            including but not limited to job openings, job postings, or the names or
            contact information of individuals or companies hiring people or
            accepting job applications; and/or (e) offer employment or work to any
            Employees or Former Employees. For purposes of this covenant,
            “Former Employees” shall refer to employees who are not employed by
            the Company at the time of the attempted recruiting or hiring, but were



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            employed by or working for the Company in the six (6) months prior to
            the time of the attempted recruiting or hiring and/or interference.
Employment Agreement, Non-Solicit § 3.3.

WaterStone Encourages and Assists the Departed Employees to Solicit Fellow
Mutual Mortgage Employees for Employment with WaterStone
        27.         WaterStone actively encouraged and assisted the Departed Employees in

soliciting other Mutual Mortgage employees to terminate their employment with

Mutual Mortgage and join WaterStone. The Departed Employees engaged in the

solicitation while still employed by Mutual Mortgage, in breach of their contractual

and fiduciary duties.

        28.         For example, in an April 7, 2022 email from Maria De Sevilla to Dawson

Walker, De Sevilla writes that “Chris debriefed me on Waterstone today! I remain

excited! Yaay!” At the time both De Sevilla and Walker were employed in Mutual

Mortgage’s Daytona Branch, and one week later they resigned to join WaterStone.

        29.         The “Chris” referred to in De Sevilla’s email was Chris Wolf, who at the

time was Mutual Mortgage’s Vice President of Mortgage Lending. On April 8, 2022,

Wolf sent an email to an unknown group of recipients advising them to “not discuss

what we talked about on today’s call with anyone outside of your families. We are

still finalizing details.”

        30.         Maria De Sevilla described this April 8, 2022 call as follows: “Chris was

on our team call and spoke to me, Mike, Sunshine & Beatrice about the move! OMG!

I SO want us to develop those builder relationships and become a preferred lender for


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some! I’m totally up for going out and talking to the builders and earning their

business!”

        31.         Following this April 8, 2022 meeting, Michael Irish emailed Chris Wolf

that Irish was “beyond excited for this new endeavor” and was eager to start at

WaterStone as soon as possible because he had leads on loans developed during his

time at Mutual Mortgage and wanted to divert those loans to WaterStone:

            For the personal request, could I be one of the first people to transition
            over? I only ask because currently I do not have any working loans in my
            pipeline but, I do have quite a few pre-approvals out that the realtors are
            actively showing their clients properties and every Thursday on the PAL’s
            call I continue to engage with the buyers. I would hate to have my
            pipeline pop off within the next 30 days and then be out of my
            commissions if that in fact would be the case.
        32.         On April 28, 2022, Kiera Tully sent Chris Smith an email requesting a

meeting “to go over a few things,” including “[h]ow is compensation going to work.”

At the time both Tully and Smith were employed in Mutual Mortgage’s Tampa

Branch, until they resigned a few weeks later to join WaterStone.

        33.         WaterStone employees also regularly held video conferences with

Mutual Mortgage employees on weekdays during business hours.

        34.         For example, on April 22, 2022 at 2:00 p.m. at least two Mutual

Mortgage employees (William Henry Jr. and Mike Gurley) had a video conference

with Kyrstin Friebis of WaterStone. Friebis had been a Mutual Mortgage employee

until April 15, 2022, when she resigned to work at WaterStone.




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WaterStone Encourages and Assists the Departed Employees in Disclosing to
WaterStone Confidential and Trade Secret Information
        35.         On multiple occasions, WaterStone encouraged and assisted the

Departed Employees to send WaterStone Confidential and Trade Secret Information.

        36.         In some instances, the Departed Employees sent Confidential and Trade

Secret Information directly to WaterStone.             In other instances, the Departed

Employees sent Confidential and Trade Secret Information to their personal email

addresses and, upon information and belief, subsequently sent such Confidential and

Trade Secret Information to WaterStone. Mutual Mortgage does not yet have access

to the Departed Employees’ personal email accounts but intends to obtain access in

discovery and conduct a forensic audit of the Departed Employees’ use of their

personal email accounts to transfer Confidential and Trade Secret Information.

        37.         For example, on February 17, 2022, Dwayne Hutto sent an email from

his work email address to a WaterStone employee named Dustin Owen attaching a

copy of Mutual Mortgage’s December 31, 2021 Profit and Loss Statement for the

Daytona Branch. At the time, Hutto was the branch manager of the Daytona Branch.

Owen responded to the email to confirm that he had received the information. At the

time, Owen was WaterStone’s Regional Vice President-Southeast.

        38.         On March 3, 2022, Hutto sent another email to Owen, this time attaching

a copy of Mutual Mortgage’s December 31, 2021 Profit and Loss Statement for the

Tampa branch. Owen responded to the email as follows: “Received. Thank you. I

have sent this off to Kevin Allen. Let’s look at some times/dates for next week. We’ll

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want and [sic] hour with you and then an hour with Smitty.” At the time, Owen was

WaterStone’s Regional Vice President-Southeast.

        39.         The “Smitty” referred to is Chris Smith, who was Mutual Mortgage’s

Senior Vice President of Sales based in the Tampa Branch. On March 2, 2022, Smith

used his Mutual Mortgage email address to send a copy of this same spreadsheet to

his personal email address (husky5417@yahoo.com). Smith resigned from Mutual

Mortgage and joined WaterStone a few weeks later. Upon information and belief,

Smith forwarded the spreadsheet from his personal account to WaterStone, and

Mutual Mortgage expects to obtain confirmation of this fact when it conducts a

forensic examination of Smith’s Yahoo account.

        40.         On April 26, 2022, Lorri Hutchcraft – then a Mutual Mortgage employee

in the Daytona Branch – used her Mutual Mortgage email account to send to her

personal email account (lorrihutchcraft@gmail.com) dozens of confidential

documents, including documents containing policies and procedures of Mutual

Mortgage on Mutual Mortgage letterhead, templates for borrower communications,

forms, work flows, and other confidential documents. She also sent confidential

information to her personal email account about at least two borrowers. Hutchcraft

left Mutual Mortgage that same day.

        41.         On June 10, 2022, Fred Stalls used his Mutual Mortgage email address

to   forward         to   his   personal   email    address   (fredstalls@fresliefinancial.com)

approximately 19 confidential documents, including customer address lists, lists of

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closed loans, lists of prospective borrowers, listing agent information, templates for

communications, policy and procedure documents, and other confidential documents.

One of these attachments was a spreadsheet, entitled “Customer address list” that

contained not only the addresses of Mutual Mortgage customers, but 22 columns of

detailed data about the customers, their loans, and the loan terms.

        42.         Similarly, on June 15, 2022 Cody Lamb used their Mutual Mortgage

email address to forward to their personal email address (woofstar1@hotmail.com)

three separate emails, together attaching approximately 50 confidential documents,

including customer pipeline lists, balance sheets, templates for communications with

borrowers, policies and procedures, and other confidential documents. Lamb resigned

from Mutual Mortgage that same day.

WaterStone Encourages and Assists the Departed Employees to Divert Borrowers
from Mutual Mortgage to WaterStone
        43.         When a consumer applies for a loan with Mutual Mortgage, the

consumer provides Mutual Mortgage with a wide variety of personal and confidential

information, including Social Security numbers, dates of birth, contact information,

sensitive credit history, wage statements, bank account numbers, mortgage amounts,

tax returns, and all the financial information that is necessary to facilitate a home loan.

        44.         This type of information has independent economic value because of it

enables and facilitates the preparation of a loan application. It also separates those

borrowers ready, willing, and able to proceed with a loan application from those that

are not able or willing to proceed. Indeed, lenders spend millions of dollars each year

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on leads that have a fraction of the value in comparison to the information Mutual

Mortgage had obtained on these borrowers.

        45.         Consumers provide this highly sensitive, private, and confidential

information with the understanding Mutual Mortgage will protect it.               Mutual

Mortgage is required to maintain the privacy of this information by extremely strict

federal laws that carry substantial penalties if violated.

        46.         Mutual Mortgage does not release, share, or disclose such confidential

information to the general public. Mutual Mortgage maintains the secrecy of this

confidential information and derives an economic and competitive advantage from

maintaining the secrecy of such information.

        47.         If a competitor obtained this information, it could undercut Mutual

Mortgage on Mutual Mortgage’s loans and divert Mutual Mortgage’s customers by

aggressively pursuing those customers based on the information kept by Mutual

Mortgage. That is precisely what WaterStone has done here.

        48.         On March 29, 2022, Dwayne Hutto sent an email to Zeke Waterman and

Chris Wolf asking them to “forward the full [borrower] file to Mike Smalley at

Waterstone? They can get it done.” Wolf responded that same day that the file had

been sent. At the time, all three of these employees were employed by Mutual

Mortgage and subject to all restrictions in the Employment Agreements, and these

communications all took place using Mutual Mortgage’s email system.



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        49.         On April 12, 2022, Fred Stalls used his Mutual Mortgage email address

to forward to his personal email address (fredstalls@fresliefinancial.com) documents

and information from a prospective borrower regarding a refinancing of the borrower’s

property in Hollywood, Florida.

        50.         On April 13, 2022, Dwayne Hutto sent an email to Mike Smalley at

WaterStone attaching information about a prospective borrower.

        51.         On April 15, 2022, Hutto used his Mutual Mortgage email address to

forward to his personal email address (Dwayne.hutto@yahoo.com) documentation

provided to Mutual Mortgage by a prospective borrower, including confidential

financial documents. Upon information and belief, Hutto then forwarded this email

to WaterStone. 2

        52.         Hutto appears to have diverted this borrower from Mutual Mortgage to

WaterStone. On April 24, 2022, Dwayne Hutto wrote that he had spoken to the

borrower that day and that the borrower “said he sent over the actual statements to

Waterstone Friday afternoon. I’m going to confirm in the morning.” At the time

Hutto was employed by Mutual Mortgage.

        53.         On May 25, 2022, Lucas Van Dame – then a Mutual Mortgage Loan

Originator – sent an email to a prospective borrower stating that the borrower’s loan

was not approved by Mutual Mortgage, misrepresenting the basis for the underwriting


        2
         As noted above, Mutual Mortgage currently lacks access to the Departed Employees’
personal email accounts but will seek such access in discovery on an expedited basis.

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decision, referring the borrower to WaterStone, and transferring the borrower’s file to

WaterStone:

            I wanted to send you an update on our current situation. Unfortunately,
            we are unable to approve your loan. The reason for denial is due to your
            home being used as collateral on the BB&T/Truist Business Installment
            Loan. Since there was a 30+ Day Late payment on this business loan in
            the past 12 months, our underwriter would not approve the loan (Because
            it is technically a second mortgage). I have done some research, and this
            appears to be a company specific guideline. My branch manager has
            reached out to one of his long time friends at Waterstone Mortgage and
            their underwriter assured us that your situation is something that they
            would be able to approve. We are going to go ahead and transfer your
            information over to Dwayne Hutto at Waterstone Mortgage. Since we
            already have all of your documents and information, Dwayne expects this
            to close within a 30 day period.
            I do apologize that we were unable to complete this process with you. I
            appreciate your patience through this entire process and am confident
            that Dwayne will be able to get this to the finish line.
        54.         Van Dame’s statement to the borrower that the loan was denied because

of late payments on the borrower’s business loan, and that this denial was due to a

Mutual Mortgage-specific underwriting guideline, is false and misleading. In fact,

Chris Smith escalated this loan to Chris Leyden, Mutual Mortgage’s Chief Operating

Officer, who approved the loan notwithstanding late payments on a related loan. Van

Dame was aware of these facts, but nonetheless he made false and misleading

statements to this borrower to divert the loan.

        55.         Moreover, as is evident from the foregoing email, Van Dame transferred

the borrower’s loan to WaterStone without the borrower’s consent, stating simply that

“[w]e are going to go ahead and transfer your information over to Dwayne Hutto at




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Waterstone Mortgage.” At the time Van Dame was employed by Mutual Mortgage,

until he resigned on June 15, 2022 to join WaterStone.

        56.         Other Departed Employees worked closely with Hutto after he moved to

WaterStone. For example, on June 7, 2022 Fred Stalls used his Mutual Mortgage

email address to send several questions about WaterStone to Hutto at his new

WaterStone email address (dhutto@waterstonemortgage.com):

            Hey Dwayne
            1. Does Waterstone offer HELOC’s, either directly or brokered?


            2. Does Waterstone have broker’s relationships? Can you send me
            a list of who Waterstone is signed up with to Broker loans?


            Thank you. And Thank you for the Joey Roces referral – he is a
            great guy.
        57.         On June 7, 2022 Fred Stalls had a conversation with Hutto regarding a

borrower who had initiated an application with Mutual Mortgage about transferring

the borrower’s application to WaterStone. According to Stalls’ notes, the borrower

had submitted an application with Mutual Mortgage several months before, in January

of 2022.

        58.         On June 8, 2022 Fred Stalls used his Mutual Mortgage email address to

send to his personal email address (fredstalls@fresliefinancial.com) documentation

provided by multiple prospective borrowers to Mutual Mortgage. At the time Stalls

was employed in Mutual Mortgage’s Tampa Branch as a Mortgage Loan Originator.

On June 10, 2022, Stalls received an email at his Mutual Mortgage email address from

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WaterStone congratulating him on being hired by WaterStone and providing new hire

documents.

        59.         On June 8, 2022, Fred Stalls sent an email to his colleague Cody Lamb

asking Lamb to forward Chris Wolf documents related to four borrowers. Stalls

copied Chris Wolf’s WaterStone email address on the email. On June 9, 2022, Wolf

responded that he had received all five of the emails sent by Lamb with borrower

information. Stalls and Wolf subsequently engaged in multiple communications

regarding the terms of the borrower’s loan, with Stalls using his Mutual Mortgage

email address to communicate with Wolf at his WaterStone email address. Stalls

appears to have transferred this borrower’s loan to WaterStone, as evidenced by a June

14, 2022 letter Stalls printed and signed on Mutual Mortgage letterhead stating that

Mutual Mortgage was transferring ownership of the borrower’s appraisal report to

WaterStone.

        60.         On June 8, 2022 Cynthia Manley used her Mutual Mortgage email

address to send to her personal email address (cindyvoo@icloud.com) dozens of

documents provided by a prospective borrower, as well as extensive correspondence

between the borrower and Mutual Mortgage. At the time Manley was employed by

Mutual Mortgage in its Tampa Branch, until June 15, 2022 when she resigned from

Mutual Mortgage to work at WaterStone.

        61.         On June 13, 2022, Justin DePalma sent an email to Chris Smith and John

Utsch regarding a number of borrower leads he had acquired that weekend by

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attending a number of open houses, and stated his intent to divert those prospective

borrowers to WaterStone: “After we transition I will go as a just a lender and pitch

and talk business.” At the time DePalma, Smith, and Utsch were Mutual Mortgage

employees in the Tampa Branch, and all have since resigned from Mutual Mortgage

to work at WaterStone. Smith responded to the email with “Nice!!”

        62.         On June 13, 2022, Jordan Ebelini sent an email to Chris Smith regarding

a borrower that Ebelini intended to divert from Mutual Mortgage to WaterStone,

writing that “I just submitted an app through waterstone that I need a rescore on. Need

to boost them to 620 please.” At the time Ebelini and Smith were Mutual Mortgage

employees in the Tampa Branch, and both have since resigned from Mutual Mortgage

to work at WaterStone.

        63.         On June 14, 2022, a Departed Employee in the Tampa Branch named

Eric Mueller sent himself a note memorializing a conversation he had with a

prospective borrower in which Mueller assisted the borrower in transferring her loan

application from Mutual Mortgage to WaterStone, and answered the borrower’s

questions about her loan application with WaterStone. At the time Mueller was

employed by Mutual Mortgage in the Tampa Branch, until June 15, 2022 when he

resigned from Mutual Mortgage to join WaterStone.

        64.         On June 14, 2022, Fred Stalls used his Mutual Mortgage email address

to send to his personal email address (fredstalls@fresliefinancial.com) documentation




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provided by multiple prospective borrowers to Mutual Mortgage. At the time Stalls

was employed in Mutual Mortgage’s Tampa Branch as a Mortgage Loan Originator.

        65.         The next day Stalls continued to use his Mutual Mortgage email address

to send confidential borrower information to his personal email address.

CLAIM I:    MISAPPROPRIATION OF TRADE SECRETS                                    UNDER
THE DEFEND TRADE SECRETS ACT, 18 U.S.C. § 1836
        66.         Mutual Mortgage repeats and realleges the foregoing allegations as if

fully set forth herein.

        67.         Mutual Mortgage derives independent economic value from the

Confidential and Trade Secret Information, the Confidential and Trade Secret

Information is not generally known or public, and Mutual Mortgage took reasonable

measures to maintain and protect the secret nature of the Confidential and Trade

Secret Information.

        68.         The Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 183(3), defines a

trade secret as, inter alia, “all forms and types of financial, business, scientific,

technical, economic, or engineering information … whether tangible or intangible, and

whether or how stored, compiled, or memorialized physically, electronically,

graphically, photographically, or in writing” – provided that the owner took

“reasonable measures to keep such information secret,” and it offers the holder of the

trade secret and advantage over competitors who do not know or use the trade secret.




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        69.         The Confidential and Trade Secret Information at issue in this case was

non-public, and Mutual Mortgage undertook substantial measures to protect the

secrecy of the Confidential and Trade Secret Information.

        70.         Mutual Mortgage’s Confidential and Trade Secret Information is related

to products and/or services used in interstate commerce.

        71.         The Departed Employees were entrusted with this Confidential and

Trade Secret Information in the performance of their job.

        72.         At WaterStone’s direction, the Departed Employees improperly and

unlawfully accessed and disclosed Confidential and Trade Secret Information to

WaterStone, which knew or had reason to know that the Confidential and Trade

Secret Information was acquired by improper means.

        73.         WaterStone utilized the Confidential and Trade Secret Information in

breach of applicable law and duties, without Mutual Mortgage’s express or implied

consent, all to Mutual Mortgage’s detriment.

        74.         WaterStone actions directly caused Mutual Mortgage harm through the

loss of current and future business and good will.

        75.         Unless Mutual Mortgage is made whole through damages attributable to

business and good will lost, WaterStone’s conduct has and will continue to cause

Mutual Mortgage harm.




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        76.         WaterStone willfully and maliciously misappropriated the Confidential

and Trade Secret Information, and thus is liable to Mutual Mortgage for exemplary

damages “in an amount not more than 2 times the amount of the damages awarded,”

18 U.S.C. § 1836(b)(3)(C).

CLAIM II: FALSE ADVERTISING AND UNFAIR COMPETITION UNDER
THE LANHAM ACT, 15 U.S.C. § 1125
        77.         Mutual Mortgage repeats and realleges the foregoing allegations as if

fully set forth herein.

        78.         Mutual Mortgage offers products and/or services used in interstate

commerce.

        79.         The Departed Employees created consumer confusion by representing to

consumers that they worked for Mutual Mortgage when, in fact, the Departed

Employees were acting on behalf of Waterstone. Indeed, as set forth above, in some

instances the Departed Employees intentionally made false and misleading statements

to borrowers that their loans had been denied by Mutual Mortgage in an effort to divert

the borrowers to Waterstone, in whose interest the Departed Employees were acting.

        80.         The Departed Employees created further confusion as to the identify of

the licensed entity with whom they were working, and indeed who the loan officers

themselves worked for. Borrowers were confused as to who they were dealing with,

which entities had access to their personal information, and who was responsible for

their loan.



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        81.         The Departed Employees also misrepresented to consumers that the

Departed Employees were acting as representatives and agents of Mutual Mortgage,

when they were actually affiliated with and working on behalf of WaterStone.

        82.         WaterStone was not only aware of these misrepresentations, but

encouraged and facilitated them, and WaterStone did so willfully and maliciously.

        83.         As described above, Mutual Mortgage has uncovered substantial

evidence of borrowers who applied for loans with Mutual Mortgage and whose loans

were subsequently transferred to WaterStone without the borrowers’ consent.

        84.         Similarly, Mutual Mortgage has uncovered evidence of false and

misleading statements made by the Departed Employees to borrowers, as part of a

coordinated effort with WaterStone to diver borrowers from Mutual Mortgage to

WaterStone.

        85.         These communications between Departed Employees and borrowers

included emails that prominently displayed Mutual Mortgage’s licensing information

designed to permit borrowers to look up its NMLS license number to ascertain the

Mutual Mortgage’s regulatory and legal history.

        86.         Unbeknownst to these consumers who thought they were doing business

with Mutual Mortgage, the Departed Employees were originating, processing,

underwriting, approving, pricing, and funding consumer loans with the intention of

diverting them – and in fact, did so divert them – to WaterStone, a direct competitor

of Mutual Mortgage.
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        87.         The Departed Employees also used confidential information and

documents provided to Mutual Mortgage by borrowers to close those loans at

WaterStone.

        88.         The Departed Employees transferred loans from Mutual Mortgage to

WaterStone without the borrower’s consent.

        89.         The Departed Employees made false and misleading statements to

borrowers, including false and misleading statements about the basis for Mutual

Mortgage’s denial of a loan application intended to divert the borrowers to

WaterStone. WaterStone facilitated these false and misleading statements by the

conduct described above.

        90.         By the conduct described herein, WaterStone caused confusion among

consumers as to the entity that was offering them a mortgage loan, and WaterStone

did so willfully and maliciously. Consumers who applied for loans with Mutual

Mortgage based on, among other things, Mutual Mortgage’s NMLS license number,

were diverted to WaterStone without the consumers’ consent.

        91.         As a direct result of WaterStone’s actions, Mutual Mortgage has been

harmed and continues to be harmed by the loss of business and goodwill in the

marketplace           and    consumers      harmed     through     WaterStone’s    material

misrepresentations.

        92.         WaterStone has acted knowingly, willfully, and in conscious disregard of

the rights of consumers, Mutual Mortgage, and the general public.
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    CLAIM III: MISAPPROPRIATION OF TRADE SECRETS UNDER THE
                   FLORIDA TRADE SECRETS ACT
        93.         Mutual Mortgage repeats and realleges the foregoing allegations as if

fully set forth herein.

        94.         Mutual Mortgage derives independent economic value from the

Confidential and Trade Secret Information, the Confidential and Trade Secret

Information is not generally known or public, and Mutual Mortgage took reasonable

measures to maintain and protect the secret nature of the Confidential and Trade

Secret Information.

        95.         The Departed Employees were entrusted with this Confidential and

Trade Secret Information in the performance of their job.

        96.         At WaterStone’s direction, the Departed Employees improperly and

unlawfully accessed and disclosed Confidential and Trade Secret Information to

WaterStone, which knew or had reason to know that the Confidential and Trade

Secret Information was acquired by improper means.

        97.         WaterStone utilized the Confidential and Trade Secret Information in

breach of applicable law and duties, without Mutual Mortgage’s express or implied

consent, all to Mutual Mortgage’s detriment.

        98.         WaterStone’s actions directly caused Mutual Mortgage harm through the

loss of current and future business and good will.




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        99.         WaterStone has acted knowingly, willfully, and in conscious disregard of

the rights of consumers, Mutual Mortgage, and the general public.

        100. Unless Mutual Mortgage is made whole through damages attributable to

business and good will lost, WaterStone’s conduct has and will continue to cause

Mutual Mortgage harm.

          CLAIM IV: TORTIOUS INTERFERENCE WITH CONTRACT
        101. Mutual Mortgage repeats and realleges the foregoing allegations as if

fully set forth herein.

        102. The Employment Agreements described in detail above were valid,

binding, and enforceable contracts voluntarily entered into by the Departed

Employees and Mutual Mortgage.

        103. WaterStone was aware of the Employment Agreements, and it

influenced, induced, or coerced the Departed Employees to breach the Employment

Agreements in multiple ways.

        104. First, WaterStone influenced, induced, or coerced the Departed

Employees to violate the non-solicitation provision of the Employment Agreements,

which provided, in relevant part, that the Departed Employees “shall not directly or

Indirectly . . . solicit, recruit, encourage (or attempt to solicit, recruit or encourage), or

assist others in soliciting, recruiting or encouraging, any Company Employees . . . for

the purpose of inducing, assisting, encouraging and/or facilitating them to terminate

their employment with the Company or find employment or work with another person

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or entity.”         Employment Agreement, Non-Solicit § 3.3.           Through the conduct

described in detail above, WaterStone influenced, induced, or coerced the Departed

Employees to violate this provision of the Employment Agreements.

        105. Second, WaterStone influenced, induced, or coerced the Departed

Employees to violate the confidentiality and trade secret provisions of the

Employment Agreements. The Employment Agreements provide, in relevant part,

that the Departed Employees:

            will not, and will not permit any other person or entity to, directly or
            Indirectly, without the prior written consent of the Company: (a) use
            Confidential Information or Trade Secrets for the benefit of any person
            or entity other than the Company; (b) remove, copy, duplicate or
            otherwise reproduce any document or tangible item embodying or
            pertaining to any of the Confidential Information or Trade Secrets, except
            as required to perform responsibilities for Company; and (c) while
            employed and thereafter, publish, release, disclose, deliver or otherwise
            make available to any third party any Confidential Information or Trade
            Secrets by any communication, including oral, documentary, electronic
            or magnetic information transmittal device or media.
Employment Agreement, Protective Agreement (Non-Solicit) § 4.1. Through the

conduct described in detail above, WaterStone influenced, induced, or coerced the

Departed Employees to violate this provision of the Employment Agreements.

        106. Third, WaterStone influenced, induced, or coerced the Departed

Employees to violate the provision of the Employment Agreements imposing a duty

of loyalty. Specifically, the Employment Agreements provide that the duty of loyalty

owed by the Departed Employees to Mutual Mortgage, and that the duty of loyalty

required the Departed Employees to “devote his/his entire productive time, ability,

and attention to the business of the Company consistent with good industry practices”

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and prohibits the Departed Employees from “render[ing] any loan origination services

to any other person or entity, regardless of whether or not those loan origination

services would present a conflict of interest for Loan Originator in the performance of

his/her duties for Company.” Employment Agreement § 9.1. Through the conduct

described in detail above, WaterStone influenced, induced, or coerced the Departed

Employees to violate this provision of the Employment Agreements.

        107. Fourth, WaterStone influenced, induced, or coerced the Departed

Employees to violate the provision of the Employment Agreements prohibiting the

Departed Employees from disclosing personal borrower information “to any

unauthorized person.”     Employment Agreement § 15.1.          Through the conduct

described in detail above, WaterStone influenced, induced, or coerced the Departed

Employees to violate this provision of the Employment Agreements.

        108. Mutual Mortgage has suffered harm through the lost profits, loss of

business and goodwill in the marketplace and with consumers due to WaterStone’s

misconduct.

   CLAIM V: AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
        109. Mutual Mortgage repeats and realleges the foregoing allegations as if

fully set forth herein.

        110. The Departed Employees owed a fiduciary duty to Mutual Mortgage to

act in the best interests of Mutual Mortgage. The Departed Employees violated their

fiduciary duty when they acted not for Mutual Mortgage’s benefit, but to benefit


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themselves and WaterStone by soliciting Mutual Mortgage employees to leave Mutual

Mortgage to work at WaterStone, diverting borrowers to WaterStone, and giving

WaterStone Confidential and Trade Secret Information.

        111. WaterStone knew the Departed Employees it solicited for employment,

and for disclosure of Confidential and Trade Secret Information, owed fiduciary duties

to Mutual Mortgage.

        112. WaterStone’s actions substantially assisted and encouraged the Departed

Employees to breach their fiduciary duties owed to Mutual Mortgage.

        113. WaterStone’s unlawful conduct has caused Mutual Mortgage to suffer

substantial damages.

                          CLAIM VI: UNJUST ENRICHMENT
        114. Mutual Mortgage repeats and realleges the foregoing allegations as if

fully set forth herein.

        115. WaterStone unlawfully induced the Departed Employees to divert loans

from Mutual Mortgage to WaterStone.

        116. Mutual Mortgage invested substantial time, money, and resources into

developing relationships with prospective borrowers and originating mortgage loans

from them.

        117. By unlawfully diverting these borrowers from Mutual Mortgage to

WaterStone, Mutual Mortgage conferred a direct benefit upon WaterStone.


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        118. WaterStone was aware that Mutual Mortgage was conferring such

benefits upon WaterStone.

        119. WaterStone voluntarily accepted and retained the benefits conferred by

Mutual Mortgage.

        120. Under the circumstances, it would be inequitable for WaterStone to

retain these benefits without paying Mutual Mortgage for the value of the benefits.

                    CLAIM VII: FLORIDA DECEPTIVE AND UNFAIR
                               TRADE PRACTICES ACT
        121. Mutual Mortgage repeats and realleges the foregoing allegations as if

fully set forth herein.

        122. WaterStone, through the Departed Employees, unlawfully poached

Mutual Mortgage’s employees in three of their branches, diverted borrowers and loans

from Mutual Mortgage to WaterStone, and misappropriated Confidential and Trade

Secret Information.

        123. WaterStone did this maliciously, surreptitiously and with the intent to

effectuate its scheme without Mutual Mortgage’s knowledge.

        124. At no point did WaterStone take steps to ensure that Mutual Mortgage

was aware of WaterStone’s conduct.

        125. Rather, WaterStone acted covertly divert Mutual Mortgage loans to

WaterStone.




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        126. WaterStone engaged in this misconduct for the purpose of directly and

unfairly competing with Mutual Mortgage and stealing its customers and business

opportunities.

        127. As a direct result of WaterStone’s actions, Mutual Mortgage has suffered

damages and continues to be harmed in the loss of business and goodwill in the

marketplace.

                           CLAIM VIII: CONVERSION
        128. Mutual Mortgage repeats and realleges the foregoing allegations as if

fully set forth herein.

        129. WaterStone, through the Departed Employees, unlawfully diverted

borrowers and loans from Mutual Mortgage to WaterStone, and misappropriated

Confidential and Trade Secret Information.

        130. Mutual Mortgage had an ownership interest in the borrowers and loans

unlawfully diverted to WaterStone, and in the Confidential and Trade Secret

Information unlawfully transmitted to WaterStone.

        131. WaterStone’s attempts to exercise dominion over these borrowers, loans,

and the Confidential and Trade Secret Information is inconsistent with Mutual

Mortgage’s ownership interest.

        132. As a direct result of WaterStone’s actions, Mutual Mortgage has suffered

damages and continues to be harmed in the loss of business and goodwill in the

marketplace.

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                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court:

        1.          Enter an order in favor of Mutual Mortgage and against WaterStone:

                    a.    awarding Mutual Mortgage compensatory damages in an amount

                          to be determined at trial;

                    b.    awarding Mutual Mortgage exemplary, punitive, and liquidated

                          damages in an amount to be determined at trial;

                    c.    awarding Mutual Mortgage pre-judgment and post-judgment

                          interest;

                    d.    awarding Mutual Mortgage reasonable attorneys’ fees and costs

                          incurred herein; and

                    e.    for such other relief as the Court deems just and proper.

 Dated:        July 22, 2022

                                         GUNSTER, YOAKLEY & STEWART, P.A.

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